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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 IN RE:                                                                  CASE NO.: 18-26085-RAM
                                                                                     CHAPTER 7
 Barry De Verteuil,
 aka Barry Alan De Verteuil
 aka Barry Allan De Verteuil
 aka Barry A De Verteuil,

          Debtor.
 _________________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

 Any interested party who fails to file and serve a written response to this Motion within
 14 days after the date of service stated in this motion shall, pursuant to Local Rule
 4001-1 (C), be deemed to have consented to the entry of an order granting relief
 requested in the motion.


       Secured Creditor, U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE,

SUCCESSOR IN INTEREST TO LASALLE BANK NATIONAL ASSOCIATION, AS

TRUSTEE FOR LEHMAN XS TRUST MORTGAGE PASS-THROUGH CERTIFICATES,

SERIES 2006-8, by and through the undersigned counsel, hereby moves this Court, pursuant to

11 U.S.C. § 362(d), for a modification of the automatic stay provisions for cause, and, in support

thereof, states the following:

   1. Debtor(s), Barry De Verteuil, filed a voluntary petition pursuant to Chapter 7 of the

       United States Bankruptcy Code on December 28, 2018.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and



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   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On April 27, 2006, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount $134,400.00 to

   Lehman Brothers Bank, FSB, A Federal Savings Bank. The Mortgage was recorded on

   May 5, 2006 in Book 24474 at Page 0629 of the Public Records of Miami-Dade County,

   Florida. The loan was transferred to Secured Creditor. True and accurate copies of

   documents establishing a perfected security interest and ability to enforce the terms of the

   Note are attached hereto as Composite Exhibit “A.” The documents include copies of the

   Note with any required indorsements, Recorded Mortgage, Assignment(s) of Mortgage,

   and any other applicable documentation supporting the right to seek a lift of the automatic

   stay and foreclose, if necessary.

5. The terms and conditions of the Note and Mortgage were later amended pursuant to the

   Loan Modification Agreement (“Agreement”) made June 14, 2013. Said Agreement

   created a new principal balance of $165,275.88. A true and accurate copy of the

   Agreement is attached hereto as Composite Exhibit “A”.

6. Attached are redacted copies of any documents that support the claim, such as promissory

   notes, purchase orders, invoices, itemized statements of running accounts, contracts,




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   judgements, mortgages, and security agreements in support of right to see a lift of the

   automatic stay and foreclose if necessary.

7. The mortgage provides Secured Creditor a lien on the real property located at 9423 SW

   138 Place 9423, Miami, Florida 33186, in Dade County, and legally described as:

   Unit No. 9423, Building 9, PARC VISTA, A CONDOMINIUM, according to the
   Declaration of Condominium thereof, as recorded in Official Records Book 22236,
   Page 3262, of the Public Records of Miami-Dade County, Florida.
   stated in the mortgage attached in Composite Exhibit “A.”

8. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since December 1, 2018. See Secured Creditor’s statement in regard to

   indebtedness and default, attached hereto and incorporated herein as Exhibit “B.”

9. As per the Indebtedness Worksheet attached hereto, Secured Creditor is due the

   pre-petition amount of $156,066.18 and the post-petition amount of $2,876.66. See

   Exhibit “C” attached hereto. The post-petition payment address is: Nationstar Mortgage

   LLC, Attn: Bankruptcy Dept., PO Box 619094, Dallas, TX 75261-9741.

10. The appraised value of the property is $108,012.00. See Exhibit “D” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

11. Based upon the Debtor(s)’ schedules, the property is surrendered and claimed as

   non-exempt. The Trustee has not abandoned the property.

12. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position



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   and no other form of adequate protection is provided.

13. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

14. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

15. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

   or protect the collateral; therefore, Secured Creditor requests that the Court waive the

   14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

16. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

   incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

   and protecting the property, all of which additional sums are secured by the lien of the

   mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

   alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

   pending or subsequent foreclosure proceeding.

17. A Proposed Order accompanies this Motion. See Exhibit “E” attached hereto.




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       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: February 25, 2019

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-241-1969
                                             By: /s/ Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@rasflaw.com


                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on February 25, 2019, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been

served via CM/ECF or United States Mail to the following parties:

Barry De Verteuil
9437 SW 146th Place
Miami, FL 33186

Timothy S Kingcade, Esq
1370 Coral Way
Miami, FL 33145


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Barry E Mukamal
PO Box 14183
Fort Lauderdale, FL 33302

Office of the US Trustee
51 S.W. 1st Ave. Suite 1204
Miami, FL 33130

Scott N Brown
1 SE 3rd Avenue #1400
Miami, FL 33131

                                    ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                    Attorney for Secured Creditor
                                    6409 Congress Ave., Suite 100
                                    Boca Raton, FL 33487
                                    Telephone: 561-241-6901
                                    Facsimile: 561-241-1969
                                    By: /s/ Christopher P. Salamone
                                    Christopher P. Salamone, Esquire
                                    Florida Bar Number 75951
                                    Email: csalamone@rasflaw.com




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      COMPOSITE EXHIBIT “A”
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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                             
    IN RE:                                              CASE NO.: 18-26085-RAM
                                                                    CHAPTER 7
    Barry De Verteuil,
    aka Barry Alan De Verteuil
    aka Barry Allan De Verteuil
    aka Barry A De Verteuil,

          Debtor.
    _________________________________/

 
                                  INDEBTEDNESS WORKSHEET
Debt as of Petition Date
 
             Total pre-petition indebtedness of debtor(s) to Movant $156,066.18
                 Amount of principal: $152,599.72
                 Amount of interest: $3,291.46
                 Amount of escrow (taxes and insurance): $0.00
                 Amount of forced placed insurance expended by Movant: $0.00
                 Amount of attorneys’ fees and costs billed to debtor(s) pre-petition: $0.00
                 Amount of pre-petition late fees, if any, billed to debtor(s): $0.00
                 Any additional pre-petition fees, charges or amounts charged to debtor account and
                 not listed above: Corporate Advance $175.00
             Contractual Interest Rate: 7.625%


             The prepetition default is $2,876.66 based upon 2 missed payments of $1,438.33




 
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                       Amount of Alleged Post-Petition Default
                                  (As of 02/13/2019)
                                               
        Date last payment was received: 11/08/2018
        Alleged total number of payment due post-petition from filing of petition through
        due on February 1, 2019: 1
        All post-petition payments alleged to be in default:
 Alleged        Alleged Amount Amount             Amount       Amount       Late Fee
 Amount         Amount  Received Applied          Applied      Applied to Charged (if
 Due Date       Due                 to            to           Escrow       any)
                                    Principal Interest
  02/01/19   $1,438.33    $0.00        $0.00         $0.00        $0.00         $0.00
               $0.00      $0.00        $0.00         $0.00        $0.00         $0.00
               $0.00      $0.00        $0.00         $0.00        $0.00         $0.00
 Total:      $1,438.33    $0.00         $0            $0          $0.00         $0.00
         Amount of movant’s attorney’s fees billed to debtor for the preparation and filing
        and prosecution of this motion: $750.00
        Amount of movant’s filing fee for this motion: $181.00
        Other attorney’s fees billed to debtor post-petition: $0.00
        Amount of post-petition inspection fees: $0.00
        Amount of movant’s post-petition appraisal broker’s price opinion: $0.00
        Amount of forced place insurance or insurance provided by the movant post-
        petition: $0.00
        Sum held in suspense by movant in connection with this contract, if applicable:
        (-$0.00)
        Amount of other post-petition advances or charges, for example, taxes, insurance
        incurred by debtor, etc. (itemize each charge): $0.00
        Total post-petition debt: $2,369.33




 
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                                                                       Doc Search
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                                                                Summary Report
                                                                                                                                             Generated On : 2/15/2019

Property Information
Folio:




Ow ner                                    BARRY DE VERTEUIL
                                          9423 SW 138 PL
Mailing Address
                                          MIAMI, FL 33186-1278
PA Prim ary Zone                          3800 MULTI-FAMILY - 22-37 U/A
                                          0407 RESIDENTIAL - TOTAL VALUE :
Prim ary Land Use
                                          CONDOMINIUM - RESIDENTIAL
Beds / Baths / Half                       1/1/0
Floors                                    0
Living Units                              1
Actual Area                               Sq.Ft
Living Area                               862 Sq.Ft                                                                    2017 Aerial Photography    1000ft
Adjusted Area                             862 Sq.Ft
Lot Size                                  0 Sq.Ft                                     Taxable Value Information
Year Built                                1987                                                                                  2018              2017             2016
                                                                                      County
Assessment Information
                                                                                      Exemption Value                              $0                $0                 $0
Year                                          2018           2017            2016     Taxable Value                          $67,369           $61,245         $55,678
Land Value                                     $0               $0             $0     School Board
Building Value                                 $0               $0             $0     Exemption Value                              $0                $0                 $0
XF Value                                       $0               $0             $0     Taxable Value                         $108,012          $100,011         $86,966
Market Value                            $108,012         $100,011         $86,966     City
Assessed Value                           $67,369          $61,245         $55,678     Exemption Value                              $0                $0                 $0
                                                                                      Taxable Value                                $0                $0                 $0
Benefits Information
                                                                                      Regional
Benefit                    Type                          2018     2017       2016
                                                                                      Exemption Value                              $0                $0                 $0
Non-Hom estead Cap Assessment Reduction $40,643 $38,766 $31,288
                                                                                      Taxable Value                          $67,369           $61,245         $55,678
Note: Not all benefits are applicable to all Taxable Values (i.e. County, School
Board, City, Regional).
                                                                                      Sales Information
                                                                                      Previous Sale            Price   OR Book-Page         Qualification Description
Short Legal Description
                                                                                      04/01/2006          $168,000       24474-0627     Sales w hich are qualified
 PARC VISTA CONDO
                                                                                      05/01/2004          $107,400       22326-1851     Sales w hich are qualified
 UNIT 9423 BLDG 9
 UNDIV 862/543201
 INT IN COMMON ELEMENTS
 OFF REC 22236-3262

The Office of the Property Appraiser is continually editing and updating the tax roll. This website may not reflect the most current information on record. The Property
Appraiser and Miami-Dade County assumes no liability, see full disclaimer and User Agreement at http://www.miamidade.gov/info/disclaimer.asp

Version:




 https://www.miamidade.gov/propertysearch/#/report/summary                                                                                                           1/1
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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:                                                               CASE NO.: 18-26085-RAM
                                                                                  CHAPTER 7
 Barry De Verteuil,
 aka Barry Alan De Verteuil
 aka Barry Allan De Verteuil
 aka Barry A De Verteuil,

       Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
        THIS CASE came on consideration without a hearing on U.S. BANK NATIONAL
ASSOCIATION, AS TRUSTEE, SUCCESSOR IN INTEREST TO LASALLE BANK
NATIONAL ASSOCIATION, AS TRUSTEE FOR LEHMAN XS TRUST MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2006-8’s (“Secured Creditor”) Motion for Relief from
Stay (Docket No. ##), and the movant by submitting this form of order having represented that the
motion was served on all parties required by Local Rule 4001-1, that the 14-day response time
provided by that rule has expired, that no one has filed, or served on the movant, a response to the
motion, and that the form of order was attached as an exhibit to the motion. Accordingly, it is:
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       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
      interest in the following property located at 9423 SW 138 Place 9423, Miami, Florida
      33186, in Dade County, Florida, and legally described as:
      Unit No. 9423, Building 9, PARC VISTA, A CONDOMINIUM, according to
      the Declaration of Condominium thereof, as recorded in Official Records Book
      22236, Page 3262, of the Public Records of Miami-Dade County, Florida.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
      Creditor to exercise any and all in rem remedies against the property described above.
      Secured Creditor shall not seek an in personam judgment against Debtors.
   4. Secured Creditor is further granted relief in order to contact the Debtors by telephone or
      written correspondence in order to discuss the possibility of a forbearance agreement, loan
      modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
      Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $750.00 and costs in the amount of $181.00 are awarded
      for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
      Debtor(s) or the Debtor(s)’ Bankruptcy estate.

                                  ###
Submitted by:
<ASSIGNED CASELOAD ATTORNEY NAME>
Robertson, Anschutz & Schneid, PL
Attorney for Creditor
6409 Congress Ave., Suite 100
Boca Raton, FL 33487


<ASSIGNED CASELOAD ATTORNEY NAME> is directed to serve copies of this order on the
parties listed and file a certificate of service.

Barry De Verteuil
9437 SW 146th Place
Miami, FL 33186
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Miami, FL 33145

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